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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                NORTHEASTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER DENYING
                                              )      MOTION FOR FURLOUGH
       vs.                                    )
                                              )
Patrick James Peltier,                        )
                                              )      Case No. 2:14-cr-047
               Defendant.                     )


       Before the court is a “Motion for Furlough” filed by defendant Patrick James Peltier on

November 18, 2014. Defendant requests that he be temporarily released from custody to permit him

to attend his aunt’s funeral. The motion (Docket No. 99) is DENIED given the defendant’s lengthy

criminal history (which includes several convictions for violent conduct and evidence that defendant

threatened an individual and his family while committing a theft) and the other reasons given for

detaining the defendant. In addition, the court takes into consideration in denying the motion the

fact that the deceased is not a member of defendant’s immediate family.

       Dated this 18th day of November, 2014.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
